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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES 23 Mag. 6395
“Ve STIPULATION IN SUPPORT OF
APPLICATION FOR 7TH OR
KOSTAS FEKKAS, SUBSEQUENT ORDER OF
CONTINUANCE AND 20TH
Defendant. ORDER OF CONTINUANCE

The United States of America and the defendant jointly request and agree that
the time period from March 26, 2025, to and through April 23, 2025, be excluded
from the computation of the period within which an information or indictment must
be filed, pursuant to 18 U.S.C, § 8161(b) and (h)(7). The parties submit that there is
good cause for an additional exclusion of time because such an exclusion will poten-
tially allow the parties to dispose of the case without the need for a trial. In particular,
the defendant was arrested on or about September 14, 2028, charged in a complaint
issued on or about September 14, 2028, with violating 18 U.S.C. §§ 2252A(a)(2)(B)
and (b)(1), receipt of child pornography; 2252A(a)(5)(B) and (b)(2), possession of child
pornography; and 1470, attempted transfer of obscene material, and detained since
September 14, 2028. The defendant and the Government have been involved in dis-
position negotiations since the defendant was charged, and as part of those negotia-
tions, defense counsel submitted a mitigation proposal to the Government on August.
12, 2024. The Government completed review of the mitigation proposal and provided
a response to defense counsel on February 5, 2025. On March 20, 2025, defense coun-
sel notified the Government that the defendant was prepared to accept a plea offer
and the parties had come to an agreement in principle. In light of this, the parties
need more time beyond March 26, 2025, when the Speedy Trial Act currently re-
quires the Government to indict the defendant, for the Government to draft a plea
agreement, defense counsel to review the plea agreement with the defendant, and the
parties to schedule a change-of-plea hearing. Accordingly, the interests of justice in
allowing the Government time to draft a plea agreement, defense counsel time to
review the plea agreement with the defendant, and the parties time to finalize a po-
tential disposition without trial, outweigh the defendant’s and the public’s interest in
a speedy trial.

By the following signatures we agree and consent to the exclusion of time noted

above:

iachil Wastin 03/21/2025 Z). e~ Mar. 20, 2025
Defendant’s Counsel Date CBprtotant U,&* Attorney Date
Rachel Martin, Esq. imothy L

The defendant states that he has been fully advised by counsel of his nghts
suaranteed under (a) the Sixth Amendment to the Constitution; (b) the Speedy Trial

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Act of 1974, as set forth in 18 U.S.C. §§ 3161-74; and (c) the plans and rules of this
Court adopted pursuant to that Act, The defendant understands that he has a right
to be charged by indictment or information, and to have a trial before a judge or jury,
within a specified time (excluding certain time periods) under the Constitution and
Rules and Laws of the United States identified above. The defendant consents and
agrees to the above request. Defense counsel has discussed this stipulation with the
defendant and has the defendant’s authorization to sign on his behalf.

fs Kostas Fekkas 03/21/2025
Defendant Date
KOSTAS FEKKAS

The joint application of the United States of America and the defendant having
been heard at a proceeding on the date below, the time period from March 26, 2026,
to and through April 28, 2025, is hereby excluded in computing the time within
which an indictment or information must be filed. The Court grants this continuance
on the finding that the ends of justice outweigh the interests of the public and the
defendant in a speedy trial, for the reasons set forth above. The-Court-further orders: 4;

Dated: March 2& , 2025 SO ORDERED .
White Plains, New York Cetin 0 Ay Con L

United States Magistrate Judge

